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                                                           January 11, 2021
                                                                              X
VIA ECF
Honorable Edgardo Ramos
United States District Judge
Thurgood Marshall United State Courthouse
40 Foley Square                                                   1/13/2021
New York, New York 10007

                             RE:     United States v. Thomas Santos
                                     1:20-CR-00481-ER-1

Honorable Ramos;

       I, Dawn M. Florio, attorney at law, represent Thomas Santos on the above case
matter. I am requesting that Thomas Santos be allowed to move from his current
residence in New York with his Mother in Law to an apartment in New York. Mr.
Santos takes care of his two young children. Pretrial Officer Bernisa Mejia has the new
address in New York.

        I have spoken to AUSA Elizabeth Espinosa, who defers to pretrial and Pretrial
Service Officer Bernisa Mejia and New Jersey Pretrial Officer Luis Baez do not object to
this request.

        I am requesting that this application be acknowledged and considered, so he can
relocate immediately.


                                                           Sincerely,

                                                           Dawn M. Florio

                                                           Dawn M. Florio, Esq.

CC:    AUSA Elizabeth Espinosa
       Pretrial Bernisa Mejia
       Pretrial Luis Baez
